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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                      )
 ADVANCEMENT PROJECT,                                 )
                                                      )
                 Plaintiff,                           )
                                                      )
          v.                                          )           Civ. A. No. 19-0052 (RC)
                                                      )
 U.S. DEPARTMENT OF HOMELAND                          )
 SECURITY, et al.,                                    )
                                                      )
                 Defendants.                          )
                                                      )

                                    JOINT STATUS REPORT

         The Parties, by and through respective undersigned counsel, submit this joint status report

in response to the Court’s minute order dated November 21, 2024. The Parties continue to

negotiate in good faith in the hopes of resolving this case without further litigation.

         1.     Advancement Project brought this civil action on January 10, 2019, alleging that

various government agencies, including the Department of State, failed to timely or adequately

respond to its requests under the Freedom of Information Act. Compl. ¶¶ 22–55. Advancement

Project’s FOIA requests generally seek records concerning the implementation of visa sanctions

against Cambodia, Eritrea, Guinea, and Sierra Leone in September 2017 to December 2017 time

frame.

         2.     As previously reported, Defendants have completed their responses to Plaintiff’s

FOIA requests, and the Parties are in agreement that there are no outstanding issues with respect

to the productions and withholdings in this matter.

         3.     As previously reported, the Parties have been negotiating in good faith with

respect to the sole remaining matter of Plaintiff’s fee petition. Plaintiff has submitted its fee
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petition to Defendants and Defendants have provided a response. Plaintiff is currently evaluating

Defendants’ response to the fee petition. Accordingly, the Parties agree to continue negotiating in

an attempt to avoid further litigation and use of the Court’s resources, and propose to submit an

additional status report in sixty (60) days, i.e., on March 21, 2025.

Dated: January 21, 2025
       Washington, DC                         Respectfully submitted,

                                              EDWARD R. MARTIN, JR.
                                              D.C. Bar No. 481866
                                              United States Attorney

                                              BRIAN P. HUDAK
                                              Chief, Civil Division

                                       By:     /s/ Kartik N. Venguswamy
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